

Matter of Mallett (2023 NY Slip Op 00144)





Matter of Mallett


2023 NY Slip Op 00144


Decided on January 12, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:January 12, 2023

PM-03-23
[*1]In the Matter of Edward Arnim Mallett, an Attorney. (Attorney Registration No. 4570677.)

Calendar Date:January 9, 2023

Before:Clark, J.P., Pritzker, Reynolds Fitzgerald, Ceresia and McShan, JJ.

Edward Arnim Mallett, Houston, Texas, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Edward Arnim Mallett was admitted to practice by this Court in 2008 and lists a business address in Houston, Texas with the Office of Court Administration. Mallett now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Mallett's application.
Upon reading Mallett's affidavit sworn to November 17, 2022 and filed December 29, 2022 and upon reading the January 3, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Mallett is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Clark, J.P., Pritzker, Reynolds Fitzgerald, Ceresia and McShan, JJ., concur.
ORDERED that Edward Arnim Mallett's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Edward Arnim Mallett's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Edward Arnim Mallett is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Mallett is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Edward Arnim Mallett shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








